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      In The United States Court of Federal Claims
                                         No. 05-186L

                                    (Filed: October 3, 2008)
                                          __________
 LAVETTA ELK,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          _________

                                           ORDER
                                          _________

      Closing argument will be held in this case on Thursday, October 23, 2008, at 2:00 p.m.
(EDT). Chambers will contact the parties shortly before the scheduled argument time.

       IT IS SO ORDERED.


                                                          s/ Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge
